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                       EXHIBIT W
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          7
                    Attorneys for Sheriff, Police Chief, and.
          8         Chief Probation Intervenor-Defendants
      9
     10                                        IN THE UNITED STATES DISTRICT COURTS
     11                                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 12                                         AND THE NORTHERN DISTRICT OF CALIFORNIA
 13                            UNITED STATES     DISTRICT COURT COMPOSED OF THREE JUDGES
 14                                  PURSUANT TO SECTION 2284,.TITLE 28 UNITED STATES CODE
 15
                   RALPH             COLEMAN, et al.,                     Case No: CIV S-90-0520 LKK JFM P
 16
 17                                     Plaintiffs,                       THREE-JUDGE cOURT
                               VS.
 18
                   ARNOLD             SCHWARZENEGGER, et
 19                alo,
20                                       Defendants.
21
                                                                         [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
22
                                                                         CaseNo.: C01-1351 TEH
23                MARCIANO               PLATA, et al.;
                                                                         THREE-JUDGE COURT
24                                      Plaintiffs,
25
                                                                         INTERVENOR-DEFENDANT EL
                              VS.                                        DORADO COUNTY SHERIFF'S
                                                                         RESPONSES TO PLAINTIFFS' FIRST
26                ARNOLD              SCHWARZENEGGER, et                 SET OF INTERROGATORIES
                  al.,
27
                                        Defendants.
28
                                                                        -1-
                         INTERVENOR-DEtq•NDANT YUBA COUNTY SHEKIFF'S RESPONSES TO PLAINTIFFS' FIRST
                                                                                                      SET OF INTERROGATORIES
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            PROPOUNDING PARTIES:                   Plaintiffs, MARCIANO PLATA, et al.
  2        RESPONDING PARTY:                       Intervenor-Defendant, EL DORADO COUNTY
       3                                           SHERIFF
      4     SET NUMBER:                            One (1)
       5             TO ALL PARTIES AND TO •THEIR COUNSEL OF RECORD:
      6              Pursuant to Federal Rules of Civil Procedure Rule 33£ Intervenor-Defendant E1
      7    Dorado County Sheriff separately and fully responds to Plaintiffs' First Set of
      8     Interrogatories as follows:
      9                           Preliminary, Statement and General Objections
  10                  t.    Intervenor2Defendant has not completed investigation of the facts relating
  11        to this case, has not completed discovery in this action and has not completed preparation
  12        for trial. Therefore, these responses, while based on diligent factual exploration, reflect
  13        only Intercenor-Defendant's current state of knowledge, understanding, and belief with
  14        regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
  15        the right to Supplement these responses with •subsequently obtained or discovered
 I6         information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
 17        notwithstanding these answers and responses, to employ at trial or in any pretrial
 18        proceeding herein information subsequently obtained or discovered, information the
 19        materiality of which is not presently ascertained, or information Intervenor'Defendant
 2O        does not regard as coming within the scope of the interrogatories as Intervenor-Defendanl
 21        understands them.
 22                 2.     These responses are m.•de solely for the purpose of this action. Each
 23        answer    is subject to all objections as to competence• relevance, materiality, propriety,
 24        admissibility, privacy, privilege, and any and all other objections that would require
 25        exclusion of any statement contained herein if any such        interrogatories were asked of, or
 26        rely statement contained herein if any such interrogatories were asked of, or any
 27        statement contained herein were made by, a witness present.and testifying in court, all of
 28        which objections and grounds are reserved and ma)• be interposed at.the time of trial.

             1NTERVENOR-DEFENDANT YUBA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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      1              3. Except for explicit facts admitted herein, no incidental or implied
     2 achnissions are intended hereby. Intervenor, Defendant's answers or object!ons to any
     3 interrogatory are not an admission Of any fact set forth or assumed by that interrogatoryl
    4 In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
    5 interrogatory is not a waiver of part or all of any objection he might make to that
   6 interrogatory, or an admission that such answer or objection constitutes admissible
    7 evidence. Intervenor-Defendant asserts these objections withoutwaiving or intending to
    8 waive any objections as to competency, relevancy, materiality or privilege.
    9          4.      To the extent Intervenor-Defendant responds to these interrogatories, the
  10 responses will not include information protected by the right ofpriv, acy. All objections
 11 on the grom•ds of constitutional and common law privacy rights are expressly preserved.
 12            5.       Intervenor-Defendant objects to each and every Interrogatory to
 13    that Plaintiffs are requesting information that is neither relevant to the subject matter of
 14 this action nor reasonably calculated to lead to the discovery of admissible evidence.
 15            6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
 16 are vague and ambiguous and do not include adequate definition, specificity,
                                                                                         or limiting
 17       factors.
 18                  7.    Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
 !9       the term "PERSON." The definition is vague, ambiguous, and overbroad                        used in these
                                                                                                 as
2O        Interrogatories.
21                Subjec t to and without waiving the foregoing objections, and incorporating them
22        by reference into each of the responses provided below, !ntervenor-Defendant hereby
23        responds as follows:
24        INTERROGATORY NO. |"
25               From January 1, 1995 until the present, have any limit(s) been in place,                   the
                                                                                                       as
26        result of any lawsuit; on the number of people that can be housed in
                                                                                        any jail operated
27        and/or maintained by YOU? If so:
28                        (a)    State the name, date and case number of every case which resulted

            1NTERVENOR-DIgFENDANT YUBA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET
                                                                                             OF INTERROGATORIES
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          1    any such limit(s).
      2        RESPONSE TO INTERROGATORY NO. |"
      3                   In addition to the General Objections stated above, Intervenor-Defendant objects
               to this interrogatory on the grounds that it is Vague, ambiguous and overbroad; to the
      5        extent that it seeks information not relevant to this litigation nor reasonably calculated to
      6        lead to the discovery of admissible evidence.
      7                Without waiving and subject to the objections, Intervenor-Defendant responds that
      8        from January 1, 1995 until present, limits have been in place as a result of County of El
      9        Dorado vl McDonald, PVgl 059i, September 6, 1991.
     10        INTERROGATORY NO. 2:
.11                      In any   instance, from Jamaary 1, 1995 until the present, in which any limit(s) have
 12           been in place on the number of people that can be housed in any jail operated and/or
 13           maintained by YOU, what mechanisms were used to comply with those limits?
 14                               (a)   Identify.all DOCUMENTS which relate to YOUR answer.
 15                               (b)   Identify all PERSONS whom YOU believe or suspect have
 16           information to support YOUR answer.
 17           RESPONSE TO INTERROGATORY NO. 2:
 18                   in addition to the General Objections stated above, Intervenor-Defendant objects
 19           to this interrogatory on the grounds that it is vague,, ambiguous and overbroad; to the
20            extent that it seeks information not relevant to this litigation nor reasonably calculated to
21            lead to the discovery of admissible evidence.
22                       Without waiving and subject to the objections, Intervenor-Defendant responds that
23            from January 1, 1995 until present, if the jail populations reach capacity, then
                                                                                                         excess
24            inmates are to be released pursuant to Coun _ty of E1 Dorado v. McDonald decision.
25                   (a) Decision of the Superior Court in County of E1 Dorado v. McDonald• PVgl
26            0591, September 6, 1991.
27                   (b) Captain Bob Altmeyer
28            INTERROGATORY NOo 3:
                                                               -4-
                INTERVENOR-DP2FENDANT YUBA. COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORJES
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                    From January    1• 1995 until present, how many people have had their releases from
      2    any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
      3    on   the number of people that can be housed in that jail?
      4                    (a)     Identify all DOCUMENTS which relate to YOUR answer.
      5                    (b)     Identify all PERSONS whom YOU believe or suspect have
      6    information to support YOUR         answer.
 7        RESPONSE TO INTERROGATORY NO. 3:
      8            In addition to the General Objections stated above, Intervenor•Defendant objects
     9    to this interrogatory    on   the grounds that it is vague, ambiguous and overbroad; to the
 !0       extent that it seeks    information not relevant to this litigation nor reasonably calculated to
 11       lead to the discovery of admissible evidence.
 12                Without waiving and subject to the      objections, Intervenor-Defendant responds that
 13       from January 1, 1995 until present, 2860 people have been release based on the
 14       population cap limits.
 15              (a) Decision of the Superior Court in County of E1 Dorado v. McDonald, PVgl
 16       0591, September 6, 1991.
 17              (b) Lori Lucius
18        INTERROGATORY NO. 4:
19                 What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
2O        January 1, 1995 until present, in any county in which YOU operate and/or maintain a
21        jail?
22                      (a) For each such program, describe the mission and/or purpose of the
23        placement program.
24                      (b) For each such program, identify what criteria are used to decide who
25        may enter the program.
26                       (c)      Identify all DOCUMENTS which relate to YOUR answer.
27                       (d)      Identify all PERSONS whom YOU believe or suspect have
28        information to support YOUR         answer.


          INTERVENOR-DEFENDANT EL DORADO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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              1     RESPONSE TO ]INTERROGATORY NO. 4:
          2                    In addition to the General   Objections stated above, Intervenor-Defendant 0bj ects
          3         to this  inten'ogatory on the gromads that it is vague, ambiguous and overbroad; to the
          4          extent that it seeks information rtot relevant to this.litigation nor reasonably calculated to

          5          lead to the discovery of admissible evidence.
          6                  Without waiving and subject to the obj ections, Intervenor-Defendant responds
          7         from January 1, 1995 until present, E1 Dorado County utilizes a Home Electronic
          8         Monitoring program.
      9                      (a) The purpose is to provide an alternative to incarceration for sentenced
     10             inmates. Program is designed to relieve jail crowding and provides qualified offenders
     11             the oppommity to be a contributing member of the community while completing their
     12             sentence.
 13                        (b) Eligible participants must be low risk offenders who have not been
 14                disqualified by the court sentenced to a crime other than a sex crime against a minor,
 15                felony sex crime, arson, manufacturing illegal drugs, violent felony, or stalking, in
 16                addition, the offender must have an approved residence within thirty (30) miles of the
 17                county.
 18                           (c)    E1 Dorado County Sheriff's Office Policy and Procedures section 6.26.
 19                           (d)  Captain Bob Altmeyer and Sergeant Bryan Lake.
20                         Without waiving and subject to the objections, Intervenor-Defendant responds
21                 fi'om January 1, 1995 until present, E1 Dorado County utilizes Work Release Program.
                                                                                   a
22                         (a) The program is designed to afford low risk offender the opportunity to
23                 satisfy their court sentence without incarceration through work assignment at various
24                 sites approved by the sheriff. Approval to participate in the
                                                                                 program is at the discretion
25                 of the sheriff and is based on established criteria.
26                         (b) Eligible participants cannot have been convicted of stalkdng, manufacturing
27                 illegal drugs, felony sex crime, arson, or have three or more convictions of a violent
28                crime.

                     INTERVENOR-DEFENDANT YUBA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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                     (c)      E1 Dorado County Sheriff's Office Policy and Procedures section 6.25.
          2          (d)      Captain Bob Altmeyer and Sergeant Bryan Lake.
       3
       4      DATED:       April 11, 2008                      Respectfully submitted,
                                                               JONES & MAYER
      -5
       6
                                                               By:
       7                                                               IvyM/•s• g
       8
                                                                       Attorhe'ys for Sheriff, Probation, Police
                                                                                                         ..

                                                                       Chief, and Corrections Intervenor-
                                                                       Defendants
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              INI•F.VENOR-Dg•-.ENDANT YUBA COUNTY SHERIFF'S. RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                                                                     INTERROGATORIES
